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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

EARL PETERS, IDDO BLACKWELL,        *     CIVIL ACTION
KEVIN MATHIEU, LAVELLE              *
MEYERS, DAN RILEY, RUSSELL          *
WARE                                *     NUMBER: 3:16-cv-00842-SDD-RLB
                                    *
VERSUS                              *
                                    *     JUDGE SHELLY D. DICK
RAMAN SINGH, JOHN BEL               *
EDWARDS, JAMES M. LEBLANC,          *
STEPHANIE LAMARTINIERE,             *     MAGISTRATE
DARRYL VANNOY, STATE OF             *     RICHARD L. BOURGEOIS
LOUISIANA, LOUISIANA                *
DEPARTMENT OF PUBLIC SAFETY *
AND CORRECTIONS                     *
******************************************************************************
 MEMORANDUM IN SUPPORT OF EX PARTE MOTION FOR LEAVE TO EXCEED
 PAGE LIMIT REGARDING DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       NOW INTO COURT, through undersigned counsel, come Defendants, State of Louisiana,

Louisiana Department of Public Safety and Corrections, John Bel Edwards, in his capacity as

Governor of Louisiana, James LeBlanc, Secretary of the Louisiana Department of Public Safety and

Corrections, Darryl Vannoy, Warden at Angola, Raman Singh, and Stephanie Lamartinere, Assistant

Warden at Angola, who submit this memorandum in support of their ex parte motion to exceed the

page limit of their memorandum in support of motion for summary judgment regarding claims of

plaintiff, Russell Ware, pursuant to Middle District Local Civil Rule 7(g).

       Defendants have attempted to brief the issues raised in their motion for summary judgment

as concisely as possible and in accordance with the 20-page limit of this Court. L.R. 7(g). However,

Defendants respectfully submit that an additional 7 pages (six text pages and one page consisting of

the certificate of service) are necessary to fully and adequately address the issues raised in the

memorandum in support of motion for summary judgment.
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        Accordingly, defendants respectfully request that this Court grant their motion for leave to

exceed page limit regarding their memorandum in support of motion for summary judgment.



                                                Respectfully submitted,

                                                JEFF LANDRY
                                                Attorney General

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                                  CERTIFICATE OF SERVICE

        I hereby certify that I have this date electronically filed the foregoing with the Clerk of Court
by utilizing the CM/ECF system, and a copy of the above and foregoing was this day forwarded by
the Court’s ECF Delivery System to all counsel of record.

        Baton Rouge, Louisiana, this 12th day of April, 2019.


                                         s/Andrew Blanchfield
                                         Andrew Blanchfield
